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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION


JANICE HARGROVE WARREN                                                       PLAINTIFF


v.                             Case No. 4:19-cv-00655-BSM


KEMP, et al.                                                                 DEFENDANTS




            PLAINTIFF’S MOTION FOR RECONSIDERATION AND RELIEF FROM
                                  ORDER

       Pursuant to Federal Rule of Civil Procedure (“Fed. R. Civ. Pro.”) 59(e) and 60(b)(6)

plaintiff, Dr. Janice Warren comes, through her attorneys, Sarah Howard Jenkins, PLLC and

Austin Porter dba Porter Law, before this Honorable Court requesting this Court to Reconsider

its April 21, 2022, order denying her motion for equitable relief in part on the question of her

equitable right to additional back pay and front pay to avoid manifest errors of fact and manifest

errors of law and says:

       1.      The defendants failed to satisfy their burden of showing that the course of conduct

plaintiff actually followed was so deficient as to constitute an unreasonable failure to seek

employment in mitigation of her damages from defendants’ egregious retaliation;

               a.      Prevailing law only requires an honest, good faith effort. Dr. Warren’s

conduct satisfied this standard. Baker v. John Morrell & Co., 263 F. Supp.2d 1161, 1171 (N.D.

Iowa 2003), aff'd, 382 F.3d 816 (8th Cir. 2004); E.E.O.C. v. Delight Wholesale Co., 973 F.2d

664, 670 (8th Cir.1992); Huber v. The Gazette Company, No. C 98–50 MJM, 1999 WL

33656874 (N.D. Iowa Oct. 26, 1999).


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       2.      The jury did not hear evidence that supported a conclusion that Dr. Warren failed

to mitigate fully her damages by seeking comparable employment;

               a.       Prevailing law does not impose on a claimant the duty to accept or seek

employment at an unreasonable distance from her home. Coleman v. City of Omaha, 714 F.2d

804, 808 (8th Cir. 1983); E.E.O.C. v. Fin. Assur., Inc., 624 F. Supp. 686, 693 (W.D. Mo. 1985).

               b.      Prevailing law does not impose on a claimant an obligation to apply for or

accept a position if the job responsibilities are substantially dissimilar to the claimant’s

experience and distinguishable from the job responsibilities of the position withheld by the

defendants in violation of Title VII or other applicable law. Baker, supra, at 1179; Grace v. City

of Detroit, 341 F. Supp. 2d 709, 716 (E.D. Mich. 2004), aff'd, 216 F. App'x 485 (6th Cir. 2007);

Equal Emp. Opportunity Comm'n v. New Prime, Inc., No. 6:11-CV-03367-MDH, 2015 WL

8757318, at *6 (W.D. Mo. Dec. 14, 2015).

               c.      The defendants failed to establish that the 2021-2022 Conway Public

School superintendency was substantially equivalent to the position withheld by PCSSD and its

Board from Dr. Warren in retaliation for notifying the Board, PCSSD’s attorney, and the Federal

Court of PCSSD’s discriminatory conduct. The jury was left to speculate on the comparative

obligations and benefits.

       3.      To avoid limitations on the recovery of back pay in a failure to promote case,

prevailing law requires a claimant to maintain her position with her employer unless she is

constructively discharged. Jurgens v. Equal Emp't Opportunity Comm'n, 903 F.2d 386, 389 (5th

Cir.1990); Clark v. Marsh, 665 F.2d 1168, 1173 (D.C.Cir.1981); McCoy v. Oscar Mayer Foods,

108 F.3d 1379 (7th Cir. 1997); Lewis v. D.C., 791 F. Supp. 2d 136, 143–44 (D.D.C. 2011);




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Bowles v. Osmose Utilities Servs., Inc., No. CIV. 04-4003, 2004 WL 4910143, at *7 (W.D. Ark.

Dec. 21, 2004), aff'd, 443 F.3d 671 (8th Cir. 2006).

       4.      This Court must consider all the circumstances not merely the jury’s findings

when it considers a request for front pay. Mathieu v. Gopher News Co., 273 F.3d 769 (8th Cir.

2001); Excel Corp. v. Bosley, 165 F.3d 635, 639 (8th Cir. 1999); Miller v. Bd. of Regents of

Univ. of Minnesota, No. 15-CV-3740 (PJS/LIB), 2019 WL 586674, at *2 (D. Minn. Feb. 13,

2019), amended in part, 402 F. Supp. 3d 568 (D. Minn. 2019).

       5.      Public Policy mandates the award of back pay and front pay in this case. N.L.R.B.

v. Madison Courier, Inc., 472 F.2d 1307 (D.C. Cir. 1972).

       6.      In support of her Motion for Reconsideration, Plaintiff submits for this Court’s

consideration her Brief in Support, her trial testimony -- the only evidence introduced by the

Defendants on the issue of mitigation, seven exhibits, and the entire record in this case.

       WHEREFORE, in the interest of justice, plaintiff requests this Court to reconsider its

denial of her request for equitable relief of additional back pay and front pay.

                                      Respectfully submitted this 2nd day of May, 2022,
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